
— Order directing physical examination of alleged incompetent reversed upon the law and the facts, and motion denied, without costs. We think in the interests of justice the inquiry as to the respondent’s sanity should be decided after trial of the question before the justice presiding, and a jury, at the regular Trial Term in Suffolk county, beginning February 5, 1923. In the event that the alleged incompetent is not produced at the trial, the court may then direct that she be examined by a disinterested physician or physicians to ascertain whether she is physically capable of attending. In the event of determination that she is not physically able to attend, then such physician or physicians may examine her as to her mental condition, and testify to the result of such examination upon the trial. Kelly, P. J., Rich, Jaycox, Manning and Kapper, JJ., concur.
